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                                                           Litigation Finance Fund International SP
                                                       8

                                                       9
                                                                                         UNITED STATES BANKRUPTCY COURT
                                                      10
                                                                                                      DISTRICT OF NEVADA
                                                      11
                                                           In re:
              1731 Village Center Circle, Suite 150




                                                      12                                                                      Case No. 21-14486-abl
                                                                    INFINITY CAPITAL MANAGEMENT,                              Chapter 7
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   INC.
                        (702) 471-7432




                                                      14                              Debtor.                                 Hearing Date: OST Requested
                                                                                                                              Hearing Time: OST Requested
                                                      15

                                                      16              HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                                    INTERNATIONAL SP’S MOTION TO ENFORCE COURT ORDERS AND TO
                                                      17                        COMPEL SURRENDER OF COLLATERAL
                                                      18            HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                      19   and through its undersigned counsel, respectfully submits this motion (the “Motion”) to enforcement

                                                      20   this Court’s prior order approving Chapter 7 Trustee Robert Atkinson’s (the “Trustee”) abandonment

                                                      21   of HASelect’s collateral [ECF No. 97] (the “Abandonment Order”) and this Court’s prior order

                                                      22   granting HASelect relief from stay pursuant to 11 U.S.C. § 3621 [ECF No. 106] (the “Relief Order”

                                                      23   and together with the Abandonment Order, the “Orders”) against TPL Claim Management, LLC

                                                      24   (“TPL”) and Tecumseh-Infinity Medical Receivables Fund, LP (“Tecumseh”).

                                                      25            In support of this Motion, HASelect respectfully represents as follows:

                                                      26
                                                           1
                                                            Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the “Bankruptcy
                                                      27   Code”), all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),
                                                           and all references to “Local Rules” are to the Local Rules of Bankruptcy Practice for the U.S. District Court for the
                                                      28   District of Nevada (the “Local Rules”).


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                                                       1
                                                                                                I.      PRELIMINARY STATEMENT
                                                       2
                                                                      As of the filing of Debtor Infinity Capital Management, Inc.’s (“Infinity” or “Debtor”)
                                                       3
                                                           Chapter 7 petition on September 14, 2021 (the “Petition Date”), HASelect held a perfected, first-
                                                       4
                                                           position security interest in substantially all Infinity’s personal property, including but not limited
                                                       5
                                                           to, all accounts, instruments, general intangibles, chattel paper, documents, books and records, etc.,
                                                       6
                                                           and all proceeds thereof (as further defined below, HASelect’s “Collateral”).2
                                                       7
                                                                      In entering the Abandonment Order and Relief Order, this Court instructed that “[a]ny person
                                                       8
                                                           that is or may come into possession of any of the Collateral is hereby authorized and directed to
                                                       9
                                                           turnover such Collateral to HASelect” and retained jurisdiction to enforce this mandate.3 TPL,
                                                      10
                                                           which was jointly engaged by HASelect and Tecumseh to service and collect the disputed accounts
                                                      11
                                                           at issue in the adversary proceeding pending between HASelect and Tecumseh, is in possession of
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                                                      12
                                                           at least $462,519.37 in proceeds it received in payment of accounts that Tecumseh plainly
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                                                           acknowledges are part of HASelect’s undisputed Collateral. Despite an Agreement to the contrary,
                                                      14
                                                           Tecumseh continues to assert improper objections to the release of those proceeds to HASelect and
                                                      15
                                                           is blocking TPL’s release of said proceeds to HASelect.
                                                      16
                                                                      Accordingly, through this Motion, HASelect respectfully requests that the Court order that
                                                      17
                                                           TPL comply with the Abandonment Order and Relief Order by immediately releasing such funds to
                                                      18
                                                           HASelect and further order that Tecumseh immediately cease and refrain from interfering in TPL’s
                                                      19
                                                           remittance of proceeds of the Collateral to HASelect.
                                                      20
                                                                                                II.     JURISDICTION AND VENUE
                                                      21
                                                                      1.        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and
                                                      22
                                                           1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                      23
                                                                      2.        Every federal court, including this Court, has jurisdiction to enforce its own orders.
                                                      24
                                                           See, e.g., Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009) (holding that the “Bankruptcy
                                                      25
                                                           Court plainly had jurisdiction to interpret and enforce its own prior order.”); In re United States
                                                      26

                                                      27
                                                           2
                                                               “Collateral” is defined in full below.
                                                      28   3
                                                               See Abandonment Order [ECF No. 97] and Relief Order [ECF No. 106], ¶ 8.


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                                                       1
                                                           Commer. Mortg. Co., Case No. 06-10725, 2007 Bankr. LEXIS 5126 (D. Nev. July 2, 2007)
                                                       2
                                                           (“Clearly, a court retains jurisdiction to interpret and enforce its own orders.”).
                                                       3
                                                                       3.       Furthermore, the Orders expressly state that the Court retained jurisdiction regarding
                                                       4
                                                           enforcement of the Orders.4
                                                       5
                                                                                                      III.     RELEVANT FACTS
                                                       6
                                                                  A.        Case Background
                                                       7
                                                                       4.       Beginning in February 2019, HASelect made several loans to Infinity that were
                                                       8
                                                           documented through various loan agreements and promissory notes through which Infinity pledged
                                                       9
                                                           substantially all of its assets to HASelect as collateral for such loans.5
                                                      10
                                                                       5.       HASelect perfected its security interest in Infinity’s assets through the filing of a
                                                      11
                                                           UCC-1 with the Nevada Secretary of State on February 19, 2019.6
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                                                      12
                                                                       6.       On or about December 18, 2019, HASelect, which was then doing business under the
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                                                           name HASelect-FTM Medical Receivables Litigation Finance Fund SP, and Infinity entered into a
                                                      14
                                                           Second Amended & Restated Loan and Security Agreement and Promissory Note (the “MLA”),
                                                      15
                                                           which superseded and restated all prior loans made by HASelect to Infinity as well as extended
                                                      16
                                                           further credit to Infinity.7
                                                      17
                                                                       7.       Pursuant to Section 4.1 of the MLA, HASelect holds a perfected, first-priority security
                                                      18
                                                           interest in all of Infinity’s assets.8 Specifically, Section 4.1 states:
                                                      19
                                                                       To secure the payment and performance when due of all of the Borrower’s
                                                      20               obligations hereunder and under the Note, Borrower hereby grants to Lender a
                                                                       security interest int eh Receivables and the Alternative Receivables, and all of its
                                                      21               other personal property, including without limitation, all of Borrower’s interest in the
                                                                       following, whether now owned or hereafter acquired, and wherever located, but
                                                      22               excluding the Permitted Liens: All Goods, Inventory, Equipment, Fixtures,
                                                                       Accounts, General Intangibles, Instruments, Chattel Paper, Documents, Commercial
                                                      23               Tort Claims, Investment Property, Letter of Credit Rights, Deposit Accounts, and all
                                                                       money, and all other property now or at any time in the future in Lender’s possession
                                                      24
                                                           4
                                                      25       See Abandonment Order [ECF No. 97], ¶ 11, and Relief Order [ECF No. 106], ¶ 11.
                                                           5
                                                               See Declaration of Michael Griffin filed in support of the Motion (the “Griffin Declaration”), ¶ 5.
                                                      26
                                                           6
                                                               Griffin Declaration, ¶ 6. A copy of the UCC-1 filed by HASelect is on file at ECF No. 14.
                                                      27   7
                                                               Griffin Declaration, ¶ 7. A copy of the MLA is on file at ECF No. 14.
                                                      28   8
                                                               Griffin Declaration, ¶ 8.



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                                                       1               (including claims and credit balances), and all proceeds (including proceeds of any
                                                                       insurance policies, proceeds of proceeds and claims against third parties), all products
                                                       2               and all books and records related to any of the foregoing (all of the foregoing,
                                                                       together with all other property in which Lender may now or in the future be granted
                                                       3               a lien or security interest, is referred to herein, collectively, as the “Collateral”).

                                                       4               8.       Pursuant to the MLA, Infinity agreed to use the loan proceeds it received from

                                                       5   HASelect to purchase accounts receivable from medical providers.9

                                                       6               9.       Such accounts receivable generally arose from medical treatment or prescription

                                                       7   medication provided to individuals who were injured in accidents and had asserted personal injury

                                                       8   claims against third parties. These accounts are typically paid at discount at the time the personal

                                                       9   injury claims are settled.10

                                                      10               10.      As of the Petition Date, Infinity owed indebtedness in excess of $16 million to

                                                      11   HASelect pursuant to the terms of the MLA.11
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                                                      12               11.      On September 22, 2021, HASelect and the Trustee filed a joint motion through which
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                                                      13   the Trustee requested the Court approve the abandonment of the Collateral to HASelect.12 On October
                        (702) 471-7432




                                                      14   15, 2021, the Court entered the Abandonment Order approving the Trustee’s abandonment of the

                                                      15   Collateral to HASelect.13

                                                      16               12.      Among other things, the Abandonment Order instructs that any person who “is or may

                                                      17   come into possession of any of the Collateral is hereby authorized and directed to turn over such

                                                      18   Collateral to HASelect.”14

                                                      19               13.      On September 22, 2021, HASelect also filed a motion for relief from automatic stay,

                                                      20   requesting that the stay be terminated to allow HASelect to take possession and control of the

                                                      21

                                                      22

                                                      23

                                                      24
                                                           9
                                                               See MLA, § 3.2; Griffin Declaration, ¶ 9.
                                                      25   10
                                                                Griffin Declaration, ¶ 9.
                                                           11
                                                      26        See Claim No. 8.
                                                           12
                                                                ECF No. 12.
                                                      27
                                                           13
                                                                ECF No. 97.
                                                      28   14
                                                                Id. at ¶ 8.


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                                                       1
                                                           Collateral.15 On October 21, 2021, the Cout entered the Relief Order terminating the automatic stay
                                                       2
                                                           as requested by HASelect.16
                                                       3
                                                                       14.       Similar to the Abandonment Order, the Relief Order instructs that any person who “is
                                                       4
                                                           or may come into possession of any of the Collateral is hereby authorized and directed to turn over
                                                       5
                                                           such Collateral to HASelect.”17
                                                       6
                                                                       15.       In entering the Orders, the Court retained jurisdiction regarding matters pertaining to
                                                       7
                                                           the enforcement of the Orders.18
                                                       8
                                                                       16.       HASelect subsequently engaged a third partyto service and collect the accounts
                                                       9
                                                           included in the Collateral whose efforts are ongoing.
                                                      10
                                                                  B.          The Disputed Accounts and the Overlap Accounts
                                                      11
                                                                       17.       Shortly after the Petition Date, a dispute arose between HASelect and Tecumseh
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                                                      12
                                                           regarding their respective claims to certain accounts receivable acquired by Infinity from various
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                                                      13
                                                           third parties (the “Disputed Accounts”).19 HASelect generally claims that the Disputed Accounts
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                                                      14
                                                           are part of its Collateral and are subject to its perfected security interest under the MLA. Tecumseh,
                                                      15
                                                           in turn, generally claims to have purchased the Disputed Accounts free and clear of HASelect’s
                                                      16
                                                           perfected security interest. The Disputed Accounts are identified at ECF Nos. 201-1 and 201-2.
                                                      17
                                                                       18.       The personal injury claimants obligated as to payment of the Disputed Accounts often
                                                      18
                                                           received multiple medical treatments from multiple medical providers over a period of several
                                                      19
                                                           months. Accordingly, Infinity often purchased accounts relating to treatments provided to a single
                                                      20
                                                           personal injury claimant from multiple medical providers in separate transactions occurring over
                                                      21
                                                           several months.20
                                                      22

                                                      23
                                                           15
                                                      24        See ECF No. 17.
                                                           16
                                                                See ECF No. 106.
                                                      25   17
                                                                Id. at ¶ 8.
                                                      26   18
                                                                See Abandonment Order [ECF No. 97] and Relief Order [ECF No. 106], ¶ 11.
                                                           19
                                                      27     The Disputed Receivables are alternatively referenced in certain documents filed by Tecumseh in the Bankruptcy
                                                           Case and this Adversary Proceeding as the “Tecumseh Receivables.”
                                                      28   20
                                                                Griffin Declaration, ¶ 10.



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                                                       1
                                                                       19.      The Disputed Accounts include a subset of accounts receivable that consists of
                                                       2
                                                           accounts Tecumseh claims to have purchased relating to specific dates of treatment for certain
                                                       3
                                                           personal injury claimants for whom Infinity also purchased accounts relating to other dates of
                                                       4
                                                           treatment that are indisputably included in the Collateral and were abandoned to HASelect pursuant
                                                       5
                                                           to the Orders (collectively, the “Overlap Accounts”).21
                                                       6
                                                                       20.      For example, Exhibit 3 attached hereto shows certain accounts purchased by Infinity
                                                       7
                                                           relating to multiple dates of treatment for four separate personal injury claimants (identified by
                                                       8
                                                           PatientID). PatientID 1206 includes 11 dates of treatment purchased by Infinity that are included in
                                                       9
                                                           the Collateral and a single date of treatment that Tecumseh claims to have purchased that is included
                                                      10
                                                           within the Disputed Accounts. Likewise, PatientID 1960 includes 52 dates of treatment purchased
                                                      11
                                                           by Infinity that are included in the Collateral and 10 dates of treatment that Tecumseh claims to have
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                                                      12
                                                           purchased that are included in the Disputed Accounts.
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                                                      13
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                                                                       21.      Tecumseh’s claimed portion of Overlap Accounts, including those accounts
                                                      14
                                                           identified in yellow in Exhibit 3, are identified at ECF No. 201-2 and were specifically carved out
                                                      15
                                                           of the Orders. However, the remaining Overlap Accounts that are not identified at ECF No. 201-2
                                                      16
                                                           were abandoned to HASelect pursuant to the Orders, are included in the Collateral, and are currently
                                                      17
                                                           being serviced and collected by HASelect’s servicer.
                                                      18
                                                                  C.         The TPL Servicing Agreement
                                                      19
                                                                       22.      On October 19, 2021, HASelect filed an adversary complaint22 against Tecumseh
                                                      20
                                                           through which it seeks, among other things, a declaratory judgment determining that the Disputed
                                                      21
                                                           Accounts are subject to HASelect’s perfected security interest under the MLA and that any interest
                                                      22
                                                           Tecumseh might hold in the Disputed Accounts is subordinate and subject to HASelect’s perfected
                                                      23
                                                           security interest.
                                                      24
                                                                       23.      On December 6, 2021, the Trustee filed a motion to sell the bankruptcy estate’s interest
                                                      25
                                                           in the Disputed Accounts that included a proposed stalking horse bid from HASelect in the amount of
                                                      26

                                                      27   21
                                                                Griffin Declaration, ¶ 11.
                                                      28   22
                                                                Adversary Case No. 21-01167 (the “Adversary Case”).



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                                                       1
                                                           $100,000.23 On January 21, 2022, the Court entered an order granting the Trustee’s request to sell the
                                                       2
                                                           bankruptcy estate’s interest in the Disputed Accounts and scheduling an auction to take place on
                                                       3
                                                           February 8, 2022.24 On February 11, 2022, the Court entered an order approving the sale of the
                                                       4
                                                           bankruptcy estate’s interest in the Disputed Accounts to HASelect for a purchase price of $100,000.25
                                                       5
                                                                      24.      In light of the then-pending sale of the bankruptcy estate’s interests in the Disputed
                                                       6
                                                           Accounts, and to provide for the ongoing servicing and collection of the Disputed Accounts during
                                                       7
                                                           the adjudication of the Adversary Proceeding, HASelect and Tecumseh (with the consent and
                                                       8
                                                           approval of the Trustee) entered into a Servicing Agreement and an Escrow Agreement on or about
                                                       9
                                                           January 31, 2022 under which they jointly engaged TPL Claims Management, LLC (“TPL”) to
                                                      10
                                                           service and collect the Disputed Accounts and to hold the proceeds of the Disputed Accounts in
                                                      11
                                                           escrow pending the final resolution of the Adversary Proceeding.26
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                                                      12
                                                                      25.      Under the Servicing Agreement, HASelect and Tecumseh expressly authorized TPL,
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                                                      13
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                                                           in its “sole and absolute discretion and judgment” to enforce and collect the Disputed Accounts
                                                      14
                                                           “including, without limitation, the exclusive and irrevocable right to negotiate and compromise, if
                                                      15
                                                           necessary, the amount of final payment in full satisfaction” thereof.27
                                                      16
                                                                      26.        In negotiating and entering into the Servicing Agreement, the parties were mindful of
                                                      17
                                                           the likelihood that payments intended to satisfy accounts included in the Collateral, including
                                                      18
                                                           HASelect’s undisputed portion of the Overlap Accounts, might inadvertently be sent to TPL as a result
                                                      19
                                                           of its servicing and collection efforts relating to the Disputed Accounts. As such, the Servicing
                                                      20
                                                           Agreement expressly states, “[i]n the event [TPL] receives any payment intended to satisfy any
                                                      21
                                                           account receivable not included within the [Disputed Accounts] for which HASelect is entitled to
                                                      22
                                                           payment, [TPL], within five (5) days following receipt thereof, shall notify HASelect of the receipt of
                                                      23
                                                           such payment and shall, at HASelect’s election, (i) promptly deliver such payment to HASelect or (ii)
                                                      24

                                                      25   23
                                                                ECF No. 145.
                                                           24
                                                      26        ECF No. 175.
                                                           25
                                                                ECF No. 184.
                                                      27
                                                           26
                                                                Griffin Declaration, ¶ 13. A copy of the Servicing Agreement is attached hereto as Exhibit 1.
                                                      28   27
                                                                Servicing Agreement, § 4(c).


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                                                       1
                                                           promptly return such payment to the sender with instructions to contact HASelect directly regarding
                                                       2
                                                           settlement of the relevant account receivable.”28
                                                       3
                                                                  D.         The HAS Payments Being Improperly Withheld from HASelect in Violation of
                                                       4                     the Orders
                                                       5               27.      In or around April 2022, TPL notified both HASelect and Tecumseh that it had received

                                                       6   six (6) payments intended to satisfy accounts included within HASelect’s Collateral (the “HAS

                                                       7   Payments”).29 Two (2) of the HAS Payments [PatientID 276 and 1571] relate to accounts that are

                                                       8   strictly HASelect’s Collateral in which Tecumseh claims no interest. The remaining four (4) HAS

                                                       9   Payments [PatientID 1206, 1960, 2624, and 2963] relate to Overlap Accounts that include dates of

                                                      10   treatment that are included in the Collateral as well as other dates of treatment that Tecumseh claims

                                                      11   to have purchased that are included in the Disputed Accounts.30
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                                                      12               28.      As is common in collecting accounts relating to personal injury claims, the amounts of
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                                                      13   each of the six (6) HAS Payments received by TPL were less than the gross face amount of the
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                                                      14   corresponding accounts. However, the amounts received were within the typical range of discounted

                                                      15   payment that is generally acceptable to HASelect and commonly approved by TPL in its “sole and

                                                      16   absolute discretion and judgment”31 with respect to the Disputed Accounts.32

                                                      17               29.      In notifying HASelect and Tecumseh of its receipt of the HAS Payments, TLP

                                                      18   proposed to send the full amount of the two (2) HAS Payments that relate strictly to HASelect’s

                                                      19   collateral to HASelect and to split the four (4) HAS Payments relating to Overlap Accounts on a pro

                                                      20   rata basis according to the gross face amounts billed for the dates of service Tecumseh claims to have

                                                      21   purchased as compared to the gross face amounts billed for the dates of service that are indisputably

                                                      22   included in HASelect’s Collateral. TPL’s representative later describe this method as “the appropriate

                                                      23
                                                           28
                                                                Griffin Declaration, ¶ 14. Servicing Agreement, § 5(a).
                                                      24
                                                           29
                                                             The HAS Payments are identified by PatientID in the May 20, 2022 email from Michael Stone that is attached
                                                      25   hereto as Exhibit 2.
                                                           30
                                                             Griffin Declaration, ¶ 16. The specific Overlap Accounts and dates of service to which these four (4) HAS Payments
                                                      26   relate are identified in Exhibit 3 attached hereto.
                                                           31
                                                      27        See Servicing Agreement, § 4(c).
                                                           32
                                                             Griffin Declaration, ¶ 17. On average, the HAS Payments were approximately 82% of the gross face value of the
                                                      28   corresponding accounts.


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                                                       1
                                                           approach.”33 This proposed split would result in the release of $462,519.37 to HASelect as proceeds
                                                       2
                                                           of its Collateral and the deposit of $40,880.63 in proceeds of Disputed Accounts into escrow to be held
                                                       3
                                                           by TPL pending the resolution of the Adversary Proceeding.34
                                                       4
                                                                      30.       HASelect approved the split proposed by TPL and requested that TPL immediately
                                                       5
                                                           forward its portion of the HAS Payments to HASelect’s servicer.35
                                                       6
                                                                      31.       Notwithstanding the language in the Servicing Agreement granting TPL “sole and
                                                       7
                                                           absolute discretion and judgment” and “the exclusive and irrevocable right to negotiate and
                                                       8
                                                           compromise” as to amount of final payment of the Dispute Accounts36, Tecumseh instructed TPL that
                                                       9
                                                           it could not release the HAS Payments to HASelect as proposed until Tecumseh agreed to a formula
                                                      10
                                                           for calculating how payments relating to Overlap Accounts would be split between HASelect’s
                                                      11
                                                           Collateral and the Disputed Accounts.37
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                                                      12
                                                                      32.       HASelect, either directly or indirectly through its servicer, has made several requests
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                                                           to TPL that the HAS Payments be released as proposed by TPL and approved by HASelect. Tecumseh,
                                                      14
                                                           however, continues to object to the release of the HAS Payments.38 As a result of Tecumseh’s
                                                      15
                                                           objections, TPL is unwilling to release any part of the HAS Payments to HASelect.39
                                                      16
                                                                      33.       Both this Court’s Orders and the Servicing Agreement explicitly require that the HAS
                                                      17
                                                           Payments, which are HASelect’s Collateral, be turned over to HASelect.
                                                      18
                                                                      34.       Through this Motion HASelect request that the Court (i) order TPL to comply with the
                                                      19
                                                           Orders and its obligations under the Servicing Agreement by immediately releasing HAS Payments
                                                      20
                                                           totaling $462,519.37 to HASelect and (ii) order that Tecumseh immediately cease and refrain from
                                                      21
                                                           interfering in TPL’s remittance to HASelect of proceeds of HASelect’s Collateral.
                                                      22
                                                           33
                                                                See Exhibit 2 attached hereto.
                                                      23
                                                           34
                                                             Griffin Declaration, ¶ 18. The calculation of this proposed split is explained in the May 20, 2022 email from Michael
                                                      24   Stone that is attached hereto as Exhibit 2.
                                                           35
                                                      25        Griffin Declaration, ¶ 19.
                                                           36
                                                                See Servicing Agreement, § 4(c).
                                                      26
                                                           37
                                                                Griffin Declaration, ¶ 19.
                                                      27   38
                                                                See Exhibit 2 attached hereto.
                                                      28   39
                                                                Griffin Declaration, ¶ 20.



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                                                       1
                                                                                                       IV.     ARGUMENT
                                                       2
                                                                      A.       TPL and Tecumseh Are in Violation of this Court’s Orders Requiring
                                                       3                       Surrender of Collateral to HASelect.
                                                       4              35.      Every federal court, including this Court, has jurisdiction to enforce its own orders.

                                                       5   See, e.g., Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009) (holding that the “Bankruptcy

                                                       6   Court plainly had jurisdiction to interpret and enforce its own prior order.”); In re United States

                                                       7   Commer. Mortg. Co., Case No. 06-10725, 2007 Bankr. LEXIS 5126 (D. Nev. July 2, 2007)

                                                       8   (“Clearly, a court retains jurisdiction to interpret and enforce its own orders.”).

                                                       9              36.      This Court’s Orders expressly state that any person who “is or may come into

                                                      10   possession of any of the Collateral is hereby authorized and directed to turn over such Collateral to

                                                      11   HASelect.”40 Both TPL and Tecumseh are subject to these Orders.
              1731 Village Center Circle, Suite 150




                                                      12              37.      There is absolutely no dispute that accounts and dates of service to which the HAS
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Payments relate, excluding only those dates of service that Tecumseh claims to have purchased (as
                        (702) 471-7432




                                                      14   identified in yellow in Exhibit 3), are part of HASelect’s Collateral. As such, the HAS Payments that

                                                      15   correspond to such Collateral must be turned over to HASelect pursuant to both the Abandonment

                                                      16   Order and the Relief Order. Moreover, the parties’ own Servicing Agreement expressly requires that

                                                      17   such funds be promptly released to HASelect.41

                                                      18              38.      As set forth above, the Servicing Agreement grants TPL “sole and absolute discretion

                                                      19   and judgment” and “the exclusive and irrevocable right to negotiate and compromise” as to amount of

                                                      20   final payment of the Dispute Accounts.42 As expressly authorized under the Servicing Agreement,

                                                      21   TPL accepted discounted payment of the dates of service that Tecumseh Claims to have purchased

                                                      22   based on the gross face value of the same.43 Tecumseh has no right (under the Servicing Agreement

                                                      23   or otherwise) to second guess TPL’s decision.

                                                      24
                                                           40
                                                      25        See Abandonment Order [ECF No. 97] and Relief Order [ECF No. 106], ¶ 8.
                                                           41
                                                                See Servicing Agreement, § 5(a).
                                                      26
                                                           42
                                                                See Servicing Agreement, § 4(c).
                                                      27   43
                                                            TPL has no corresponding authority to accept discounted payment of accounts included in HASelect’s collateral.
                                                           However, as to the accounts to which the HAS Payments relate, HASelect has approved the amounts of the discounted
                                                      28   HAS Payments received by TPL.


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                                                       1
                                                                       39.      There is no good faith basis for Tecumseh to interfere in TPL’s remittance to
                                                       2
                                                           HASelect of payments received in satisfaction of accounts included in the Collateral regardless of
                                                       3
                                                           whether such payments relate to Overlap Accounts. TPL has determined in its “sole and absolute
                                                       4
                                                           discretion and judgment” that such payments should be applied to Disputed Accounts on a pro rata
                                                       5
                                                           basis according to gross face value, which results in the Disputed Accounts receiving the same
                                                       6
                                                           percentage of gross face value (per PatientID) as the accounts included in HASelect’s collateral.44
                                                       7
                                                                  B.         Tecumseh Should Be Held in Contempt and Ordered to Pay HASelect’s Attorney
                                                       8                     Fees and Costs Incurred in Bringing this Motion.
                                                       9               40.      If not for Tecumseh’s unreasonable interference, HASelect believes TPL would

                                                      10   willingly comply with its obligations under the Abandonment Order and Relief Order to turn over

                                                      11   the HAS Payments to HASelect. Because Tecumseh is directly and solely responsible for the HAS
              1731 Village Center Circle, Suite 150




                                                      12   Payments being withheld from HASelect in violation of the Abandonment Order and Relief Order,
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   the Court should hold HASelect in contempt and order that it pay HASelect’s reasonable attorney
                        (702) 471-7432




                                                      14   fees and costs incurred in bringing this Motion.

                                                      15               41.      Bankruptcy courts undoubtedly have the power to impose civil contempt. In re Smith,

                                                      16   462 B.R. 783, 791-92 (Bankr. D. Nev. 2011) (citing Caldwell v. Unified Capital Corp. (In re

                                                      17   Rainbow Magazine, Inc.), 77 F.3d 278, 284–85 (9th Cir. 1996); Stasz v. Gonzalez (In re Stasz), 387

                                                      18   B.R. 271, 276 (B.A.P. 9th Cir. 2008); 11 U.S.C. § 105(a)). This civil contempt authority allows

                                                      19   bankruptcy courts to remedy a violation of a specific order. Knupfer v. Lindblade (In re Dyer), 322

                                                      20   F.3d 1178, 1196 (9th Cir. 2003). Additionally, Bankruptcy Rule 9020 provides that Rule 9014,

                                                      21   which pertains to contested matters, governs a motion for an order of contempt and clearly

                                                      22   contemplates a bankruptcy court’s authority to issue contempt orders. See Fed. R. Bankr. P. 9014,

                                                      23   9020, and comments thereto.

                                                      24               42.      To issue an order of contempt, a court must determine: (1) that the party violated a

                                                      25   court order; (2) beyond substantial compliance; (3) not based on a good faith and reasonable

                                                      26   interpretation of the order; (4) by clear and convincing evidence. In re Dual-Deck Video Cassette

                                                      27   Recorder Antitrust Litig. Go-Video, Inc., 10 F.3d 693, 695 (9th Cir. 1993); see also FTC v.

                                                      28   44
                                                                See Exhibit 2 attached hereto.


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                                                       1
                                                           Affordable Media, LLC, 179 F.3d 1228, 1239 (9th Cir. 1999) (stating that “[t]he standard for finding
                                                       2
                                                           a party in civil contempt is well settled: The moving party has the burden of showing by clear and
                                                       3
                                                           convincing evidence that the contemnors violated a specific and definite order of the court. The
                                                       4
                                                           burden then shifts to the contemnors to demonstrate why they were unable to comply.”).
                                                       5
                                                                  43.     Here, the Abandonment Order and Relief Order clearly mandate that any person in
                                                       6
                                                           possession of any of the Collateral turn the same over to HASelect. It is undisputed that the portions
                                                       7
                                                           of the HAS Payments that TPL proposed to release to HASelect in compliance with the Orders (and
                                                       8
                                                           the parties’ Servicing Agreement) are included in the Collateral. Moreover, Tecumseh is directly
                                                       9
                                                           and solely responsible for the HAS Payments being withheld from HASelect in violation of the
                                                      10
                                                           Abandonment Order and Relief Order. HASelect has attempted for several weeks to resolve
                                                      11
                                                           Tecumseh’s objections without Court intervention. As there is no reasonable or sensible basis for
              1731 Village Center Circle, Suite 150




                                                      12
                                                           Tecumseh to continue to object to the release of the HAS Payments to HASelect, Tecumseh should
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           be held in contempt and ordered to pay HASelect’s reasonable attorney fees and costs.
                                                      14
                                                                                                V.      CONCLUSION
                                                      15
                                                                  For the reasons stated above, the HASelect respectfully requests that the Court (i) order TPL
                                                      16
                                                           to comply with the Abandonment Order, Relief Order, and Servicing Agreement by immediately
                                                      17
                                                           releasing the HAS Payments to HASelect in the amounts proposed by TPL and approved by HAS,
                                                      18
                                                           (ii) order that Tecumseh immediately cease and refrain from interfering in TPL’s remittance of
                                                      19
                                                           proceeds of the Collateral to HASelect, and (iii) hold HASelect in contempt and order that it pay
                                                      20
                                                           HASelect’s reasonable attorney fees and costs incurred in bringing this Motion.
                                                      21
                                                                  Dated this 23rd day of May 2022.
                                                      22
                                                                                                         SHEA LARSEN
                                                      23
                                                                                                         /s/ Bart K. Larsen, Esq.
                                                      24                                                 Bart K. Larsen, Esq.
                                                                                                         Nevada Bar No. 8538
                                                      25                                                 Kyle M. Wyant, Esq.
                                                                                                         Nevada Bar No. 14652
                                                      26                                                 1731 Village Center Circle, Suite 150
                                                                                                         Las Vegas, Nevada 89134
                                                      27
                                                                                                         Attorneys for HASelect-Medical Receivables
                                                      28                                                 Litigation Finance Fund International SP


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                                                       1                                 CERTIFICATE OF SERVICE

                                                       2         1.    On May 23, 2022, I served the following document(s): CREDITOR HASELECT-
                                                                       MEDICAL        RECEIVABLES            LITIGATION        FINANCE   FUND
                                                       3               INTERNATIONAL SP’S MOTION TO ENFORCE COURT ORDERS [ECF
                                                                       NOS. 97 AND 106] FOR TURNOVER OF COLLATERAL POSSESSED BY
                                                       4               TPL CLAIMS MANAGEMENT, LLC AND BEING INTERFERED WITH BY
                                                                       TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP ON ORDER
                                                       5               SHORTENING TIME
                                                       6         2.    I served the above document(s) by the following means to the persons as listed below:
                                                       7               ց       a.     ECF System:
                                                       8         ROBERT E. ATKINSON
                                                                 Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       9
                                                                 CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                      10         clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      11         GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
              1731 Village Center Circle, Suite 150




                                                      12         ggordon@gtg.legal, bknotices@gtg.legal
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13         GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                        (702) 471-7432




                                                                 RECEIVABLES FUND, LP
                                                      14         ghamm@Gtg.legal, bknotices@gtg.legal
                                                      15         MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
                                                      16         michael.napoli@akerman.com,
                                                                 cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
                                                      17         an.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      18         ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                                 FUND, LP
                                                      19         ariel.stern@akerman.com, akermanlas@akerman.com
                                                      20         BRADFORD IRELAN on behalf of HEALTHPLUS IMAGINING OF TEXAS, LLC
                                                                 birelan@imtexaslaw.com,
                                                      21         jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
                                                      22
                                                                 DAVID MINCIN on behalf of HEALTHPLUS IMAGINING OF TEXAS, LLC
                                                      23         dmincin@mincinlaw.com, cburke@mincinlaw.com
                                                      24
                                                                 TRENT L. RICHARDS on behalf of THE INJURY SPECIALISTS
                                                      25         trichards@sagebrushlawyers.com, hdaniels@sagebrushlawyers.com
                                                      26         U.S. TRUSTEE - LV - 7
                                                                 USTPRegion17.LV.ECF@usdoj.gov
                                                      27
                                                                 MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                      28         INC. mzirzow@lzlawnv.com, carey@lzlawnv.com; trish@lzlawnv.com;


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                                                       1         jennifer@lzlawnv.com; zirzow.matthewc.r99681@notify.bestcase.com

                                                       2         U.S. TRUSTEE - LV - 7
                                                                 USTPRegion17.LV.ECF@usdoj.gov
                                                       3
                                                                        տ       b.      United States mail, postage fully prepaid:
                                                       4
                                                                        տ       c.      Personal Service:
                                                       5
                                                                        I personally delivered the document(s) to the persons at these addresses:
                                                       6
                                                                                        տ       For a party represented by an attorney, delivery was made by
                                                       7                handing the document(s) at the attorney’s office with a clerk or other person in
                                                                        charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                       8                in the office.
                                                       9                                տ       For a party, delivery was made by handling the document(s)
                                                                        to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      10                place of abode with someone of suitable age and discretion residing there.
                                                      11                տ       d.      By direct email (as opposed to through the ECF System):
                                                                        Based upon the written agreement of the parties to accept service by email or a
              1731 Village Center Circle, Suite 150




                                                      12                court order, I caused the document(s) to be sent to the persons at the email
                                                                        addresses listed below. I did not receive, within a reasonable time after the
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                transmission, any electronic message or other indication that the transmission was
                        (702) 471-7432




                                                                        unsuccessful.
                                                      14
                                                                        տ       e.      By fax transmission:
                                                      15
                                                                        Based upon the written agreement of the parties to accept service by fax
                                                      16                transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                        numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      17                of the record of the fax transmission is attached.
                                                      18                տ       f.      By messenger:
                                                      19                I served the document(s) by placing them in an envelope or package addressed to
                                                                        the persons at the addresses listed below and providing them to a messenger for
                                                      20                service.
                                                      21         I declare under penalty of perjury that the foregoing is true and correct.
                                                      22         Dated: May 23, 2022.
                                                      23
                                                                                                               By: /s/ Bart K. Larsen, Esq,
                                                      24

                                                      25

                                                      26

                                                      27

                                                      28


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        IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of
the date first written above by their respective officers thereunto duly authorized.


                                 ADMINISTRATOR
                                 TPL CLAIMS MANAGEMENT, LLC, a Delaware limited
                                 liability company



                                 By:
                                 Name: Michael Stone
                                 Title: CEO



                                 HOLDERS:


                                 HASELECT-MEDICAL RECEIVABLES LITIGATION
                                 FINANCE FUND INTERNATIONAL SP, a segregated
                                 portfolio of HedgeACT International SPC LTD., a Cayman
                                 Islands Exempt Company



                                 By:
                                 Name: Michael E Griffin
                                 Title: Director




                                 TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                 FUND, LP, a Delaware Limited Partnership



                                 By:
                                 Name:
                                 Title:




                      [SIGNATURE PAGE TO SERVICING AGREEMENT]


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        IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of
the date first written above by their respective officers thereunto duly authorized.


                                 ADMINISTRATOR
                                 TPL CLAIMS MANAGEMENT, LLC, a Delaware limited
                                 liability company



                                 By:
                                 Name: Michael Stone
                                 Title: CEO



                                 HOLDERS:


                                 HASELECT-MEDICAL RECEIVABLES LITIGATION
                                 FINANCE FUND INTERNATIONAL SP, a segregated
                                 portfolio of HedgeACT International SPC LTD., a Cayman
                                 Islands Exempt Company



                                 By:
                                 Name:
                                 Title:




                                 TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                 FUND, LP, a Delaware Limited Partnership




                      [SIGNATURE PAGE TO SERVICING AGREEMENT]
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                                          EXHIBIT A-2


                              LIMITED POWER OF ATTORNEY

         KNOW ALL PERSONS BY THESE PRESENTS, that HASELECT-MEDICAL
RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP, a segregated portfolio
of HedgeACT International SPC LTD., a Cayman Islands Exempt Company, together with its
affiliates (collectively “Owner”), in connection with the servicing, by TPL Claims Management,
LLC, a Delaware limited liability company (“Administrator” or “attorney-in-fact”), of certain
healthcare receivables to which Owner asserts a claim or interest, has and hereby affirms that it
has made, constituted and appointed, and by these presents does make, constitute and appoint
Administrator, having its principal place of business at 10100 W. Charleston Blvd., Ste. 120, Las
Vegas, NV 89135, Owner’s true and lawful attorney-in-fact and in Owner’s name, place and stead
to act solely for the purpose of performing any or all of the acts described herein in connection
with any healthcare receivable serviced by Administrator pursuant to the Servicing Agreement
                      31 2022 (the “Servicing Agreement”). Capitalized terms used herein without
dated as of January __,
definition shall have the respective meanings assigned to them in the Servicing Agreement.

        FIRST:         To endorse, sign, deliver and deposit any and all checks, drafts or
instruments of deposits issued by obligors, attorneys, insurance companies, vendors or third
parties. Such instruments may only be executed and deposited by the attorney-in-fact if the same
represent funds paid on any portion of the healthcare receivables comprising the Portfolio serviced
by the attorney-in-fact pursuant to the above-referenced Servicing Agreement.

        SECOND:        To execute and/or endorse any document, instrument or agreement, or any
amendment, modification or supplement of any of the foregoing, and, subject to the restrictions
and limitations specifically set forth in the Servicing Agreement (and without abrogating the
same), perform any act and covenant in any way which Owner itself could do which is necessary
or appropriate to modify, amend, renew, extend, terminate and/or extinguish any indebtedness or
any right or obligation of the obligor of such indebtedness under any such healthcare receivable,
in each case upon such terms and conditions deemed, in the sole discretion of said attorney-in-fact,
necessary or appropriate in connection with such modification, amendment, renewal extension,
termination and/or extinguishment.

        THIRD:         To agree and to contract with any person, in any manner and upon terms
and conditions deemed, in the sole discretion of said attorney-in-fact, necessary or appropriate for
the accomplishment of any such modification, amendment, renewal, extension, termination and/or
extinguishment of any such indebtedness, right or obligation with respect to healthcare receivables,
to perform, rescind, reform or modify any such agreement or contract or any similar agreement or
contract made by or on behalf of Owner; to execute acknowledge, seal and deliver any such
contract; and to take all such other actions and steps, pay or receive such moneys and to execute,
acknowledge, seal and deliver all such other certificates, documents and agreements as said
attorney-in-fact may deem necessary or appropriate to consummate any such modification,
amendment, renewal, extension, termination and/or extinguishment of any such indebtedness or
in furtherance of any of the transactions contemplated by the foregoing.




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        FOURTH:       To commence a legal proceeding to enforce a receivable, or file a claim in
any obligor insolvency action. If attorney-in-fact exercises this right, and to the extent required,
Owner shall thereupon be deemed to have automatically assigned such receivable to attorney-in-
fact, which assignment shall be solely for the purpose of collection/recovery of the proceeds of the
aforementioned receivable for the benefit of the Owner.

        FIFTH:        With full and unqualified authority to delegate any or all of the foregoing
powers to any person or persons whom said attorney-in-fact shall select, provided such person or
persons will agree to be bound to and comply with all of the attorney-in-fact’s representations,
obligations, and warranties provided in the Servicing Agreement.

        SIXTH:         This Power of Attorney shall not be affected by the subsequent dissolution
or disability of Owner or its authorized representatives.

        SEVENTH: To induce any third party to act hereunder, Owner hereby agrees that any
third party receiving a duly executed copy or facsimile of this instrument may act hereunder, and
that any notice of revocation or termination hereof or other revocation or termination hereof by
operation of law shall be ineffective as to such third party.

        The rights, powers and authority of Administrator under this Limited Power of Attorney
shall commence and be in full effect as of the date of this instrument and shall continue until
revoked in writing by Owner, but in no event shall this Limited Power of Attorney be valid beyond
the term of the Servicing Agreement.

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       IN WITNESS WHEREOF, the undersigned Owner has caused this Limited Power of
Attorney to be executed as of the date first written above by its officers thereunto duly
authorized.




                                   OWNER:


                                   HASELECT-MEDICAL RECEIVABLES LITIGATION
                                   FINANCE FUND INTERNATIONAL SP, a segregated
                                   portfolio of HedgeACT International SPC LTD., a
                                   Cayman Islands Exempt Company



                                   By:
                                   Name: Michael E Griffin
                                   Title: Director




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FA35FEA>7>K8ADF:7BGDBAE7A8B7D8AD?;@93@KAD3>>A8F:735FE67E5D;476:7D7;@;@5A@@75F;A@
I;F: 3@K :73>F:53D7 D757;H34>7 E7DH;576 4K 6?;@;EFD3FAD BGDEG3@F FA F:7 )7DH;5;@9 9D77?7@F
63F763EA8 3@G3DK22      F:7M!+8</)/4--8++3+4:N3B;F3>;L76F7D?EGE76:7D7;@I;F:AGF
678;@;F;A@E:3>>:3H7F:7D7EB75F;H7?73@;@9E3EE;9@76FAF:7?;@F:7)7DH;5;@99D77?7@F

        ()*        *A 7@6ADE7 E;9@ 67>;H7D 3@6 67BAE;F 3@K 3@6 3>> 5:75=E 6D38FE AD
;@EFDG?7@FE A8 67BAE;FE ;EEG76 4K A4>;9ADE 3FFAD@7KE ;@EGD3@57 5A?B3@;7E H7@6ADE AD F:;D6
B3DF;7E)G5:;@EFDG?7@FE?3KA@>K477J75GF763@667BAE;F764KF:73FFAD@7K;@835F;8F:7E3?7
D7BD7E7@F8G@6EB3;6A@3@KBADF;A@A8F:7:73>F:53D7D757;H34>7E5A?BD;E;@9F:7&ADF8A>;AE7DH;576
4KF:73FFAD@7K;@835FBGDEG3@FFAF:734AH7D787D7@576)7DH;5;@99D77?7@F

        )%$ *A7J75GF73@6 AD7@6ADE73@K6A5G?7@F;@EFDG?7@FAD39D77?7@FAD3@K
3?7@6?7@F?A6;8;53F;A@ADEGBB>7?7@FA83@KA8F:78AD79A;@93@6EG4<75FFAF:7D7EFD;5F;A@E
3@6 >;?;F3F;A@E EB75;8;53>>K E7F 8ADF: ;@ F:7 )7DH;5;@9 9D77?7@F 3@6 I;F:AGF 34DA93F;@9 F:7
E3?7B7D8AD?3@K35F3@65AH7@3@F;@3@KI3KI:;5:%I@7D;FE7>85AG>66AI:;5:;E@757EE3DK
AD3BBDABD;3F7FA?A6;8K3?7@6D7@7I7JF7@6F7D?;@3F73@6 AD7JF;@9G;E:3@K;@674F76@7EEAD
3@KD;9:FADA4>;93F;A@A8F:7A4>;9ADA8EG5:;@674F76@7EEG@67D3@KEG5::73>F:53D7D757;H34>7
;@735:53E7GBA@EG5:F7D?E3@65A@6;F;A@E677?76;@F:7EA>76;E5D7F;A@A8E3;63FFAD@7K;@835F
@757EE3DKAD3BBDABD;3F7;@5A@@75F;A@I;F:EG5:?A6;8;53F;A@3?7@6?7@FD7@7I3>7JF7@E;A@
F7D?;@3F;A@3@6 AD7JF;@9G;E:?7@F

        *(         *A39D773@6FA5A@FD35FI;F:3@KB7DEA@;@3@K?3@@7D3@6GBA@F7D?E
3@65A@6;F;A@E677?76;@F:7EA>76;E5D7F;A@A8E3;63FFAD@7K;@835F@757EE3DKAD3BBDABD;3F78AD
F:7355A?B>;E:?7@FA83@KEG5:?A6;8;53F;A@3?7@6?7@FD7@7I3>7JF7@E;A@F7D?;@3F;A@3@6 AD
7JF;@9G;E:?7@FA83@KEG5:;@674F76@7EED;9:FADA4>;93F;A@I;F:D7EB75FFA:73>F:53D7D757;H34>7E
FAB7D8AD?D7E5;@6D78AD?AD?A6;8K3@KEG5:39D77?7@FAD5A@FD35FAD3@KE;?;>3D39D77?7@FAD
5A@FD35F ?367 4K AD A@ 47:3>8 A8 %I@7D FA 7J75GF7 35=@AI>7697 E73> 3@6 67>;H7D 3@K EG5:
5A@FD35F3@6FAF3=73>>EG5:AF:7D35F;A@E3@6EF7BEB3KADD757;H7EG5:?A@7KE3@6FA7J75GF7
35=@AI>7697 E73> 3@6 67>;H7D 3>> EG5: AF:7D 57DF;8;53F7E 6A5G?7@FE 3@6 39D77?7@FE 3E E3;6
3FFAD@7K;@835F ?3K 677? @757EE3DK AD 3BBDABD;3F7 FA 5A@EG??3F7 3@K EG5: ?A6;8;53F;A@
3?7@6?7@FD7@7I3>7JF7@E;A@F7D?;@3F;A@3@6 AD7JF;@9G;E:?7@FA83@KEG5:;@674F76@7EEAD
;@8GDF:7D3@57A83@KA8F:7FD3@E35F;A@E5A@F7?B>3F764KF:78AD79A;@9



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       Case 21-14486-abl           Doc 210       Entered 05/23/22 22:25:44            Page 40 of 51



        %+(* *A5A??7@573>793>BDA5776;@9FA7@8AD573D757;H34>7AD8;>735>3;?;@
3@KA4>;9AD;@EA>H7@5K35F;A@83FFAD@7K;@835F7J7D5;E7EF:;ED;9:F3@6FAF:77JF7@FD7CG;D76
%I@7DE:3>>F:7D7GBA@47677?76FA:3H73GFA?3F;53>>K3EE;9@76EG5:D757;H34>7FA3FFAD@7K;@
835FI:;5:3EE;9@?7@FE:3>>47EA>7>K8ADF:7BGDBAE7A85A>>75F;A@ D75AH7DKA8F:7BDA5776EA8F:7
38AD7?7@F;A@76D757;H34>78ADF:747@78;FA8F:7%I@7D

        *       -;F:8G>>3@6G@CG3>;8;763GF:AD;FKFA67>793F73@KAD3>>A8F:78AD79A;@9
BAI7DEFA3@KB7DEA@ADB7DEA@EI:A?E3;63FFAD@7K;@835FE:3>>E7>75FBDAH;676EG5:B7DEA@AD
B7DEA@EI;>>39D77FA474AG@6FA3@65A?B>KI;F:3>>A8F:73FFAD@7K;@835FPED7BD7E7@F3F;A@E
A4>;93F;A@E3@6I3DD3@F;7EBDAH;676;@F:7)7DH;5;@99D77?7@F

        ).*        *:;E&AI7DA8FFAD@7KE:3>>@AF4738875F764KF:7EG4E7CG7@F6;EEA>GF;A@
AD6;E34;>;FKA8%I@7DAD;FE3GF:AD;L76D7BD7E7@F3F;H7E

        ),$* *A;@6G573@KF:;D6B3DFKFA35F:7D7G@67D%I@7D:7D74K39D77EF:3F3@K
F:;D6B3DFKD757;H;@936G>K7J75GF765ABKAD835E;?;>7A8F:;E;@EFDG?7@F?3K35F:7D7G@67D3@6
F:3F3@K@AF;57A8D7HA53F;A@ADF7D?;@3F;A@:7D7A8ADAF:7DD7HA53F;A@ADF7D?;@3F;A@:7D7A84K
AB7D3F;A@A8>3IE:3>>47;@78875F;H73EFAEG5:F:;D6B3DFK

         *:7D;9:FEBAI7DE3@63GF:AD;FKA86?;@;EFD3FADG@67DF:;E";?;F76&AI7DA8FFAD@7K
E:3>> 5A??7@57 3@6 47 ;@ 8G>> 78875F 3E A8 F:7 63F7 A8 F:;E ;@EFDG?7@F 3@6 E:3>> 5A@F;@G7 G@F;>
D7HA=76;@ID;F;@94K%I@7D4GF;@@A7H7@FE:3>>F:;E";?;F76&AI7DA8FFAD@7K47H3>;647KA@6
F:7F7D?A8F:7)7DH;5;@99D77?7@F

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      Case 21-14486-abl        Doc 210      Entered 05/23/22 22:25:44        Page 41 of 51




       $ -*$)) -(% F:7 G@67DE;9@76 %I@7D :3E 53GE76 F:;E ";?;F76 &AI7D A8
FFAD@7KFA477J75GF763EA8F:763F78;DEFID;FF7@34AH74K;FEA88;57DEF:7D7G@FA6G>K3GF:AD;L76




                                      % 


                                      *+#)$$*/ #" (,")
                                      +$"&37>3I3D7";?;F76&3DF@7DE:;B



                                      K
                                      $3?7 Chad Meyer
                                      *;F>7 Principal
Case 21-14486-abl     Doc 210   Entered 05/23/22 22:25:44        Page 42 of 51




                          Prove Servicing Agreement
                          20220128 Servicing Agreement - Final.pdf
                          4fbf327c4495e4eebf6cd9243e7e8aea83de4654
                          MM / DD / YYYY
                            Signed




     01 / 31 / 2022       Sent for signature to Michael E Griffin (mike@hedgeact.com)
     18:57:11 UTC         from jamesg@hedgeact.com
                          IP: 73.22.150.89




     01 / 31 / 2022       Viewed by Michael E Griffin (mike@hedgeact.com)
     18:57:52 UTC         IP: 73.50.34.126




     01 / 31 / 2022       Signed by Michael E Griffin (mike@hedgeact.com)
     18:58:31 UTC         IP: 73.50.34.126




     01 / 31 / 2022       The document has been completed.
     18:58:31 UTC
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                                         EXHIBIT 2
               Case 21-14486-abl          Doc 210       Entered 05/23/22 22:25:44           Page 44 of 51





From:MikeBelotz<mbelotz@tecumsehalts.com>
Sent:Friday,May20,20227:06PM
To:MichaelStone<mstone@provepartners.com>
Cc:michael.napoli@akerman.com;BartLarsen<blarsen@shea.law>;ChadMeyer<cmeyer@tecumsehalts.com>;
MaggieJenkins<MJenkins@tplcmgmt.com>;AlisonFrancis<afrancis@tplcmgmt.com>;IgorShleypak
<ishleypak@hedgeact.com>;AndreBahbah<abahbah@provepartners.com>;StevenPelosi
<SPelosi@provepartners.com>;JohnGordon<jgordon@provepartners.com>
Subject:RE:InfinityCapitalManagement/PrevaAdvancedSurgicare

Michael,

Thankyouforprovidingtheinformation.However,nooffense,asIsaidbefore,itisnotyourplacetodecidehowthese
receivablesaretobesplit.Thatisbetweentheparties.Oncewedecideonaformulayoumayapplyitbutuntilthat
timewearenotaskingforyouropinion.Sopleaserefrain.

Best,
MB

From:MichaelStone<mstone@provepartners.com>
Sent:Friday,May20,20228:40PM
To:MikeBelotz<mbelotz@tecumsehalts.com>
Cc:michael.napoli@akerman.com;BartLarsen<blarsen@shea.law>;ChadMeyer<cmeyer@tecumsehalts.com>;
MaggieJenkins<MJenkins@tplcmgmt.com>;AlisonFrancis<afrancis@tplcmgmt.com>;IgorShleypak
<ishleypak@hedgeact.com>;AndreBahbah<abahbah@provepartners.com>;StevenPelosi
<SPelosi@provepartners.com>;JohnGordon<jgordon@provepartners.com>
Subject:RE:InfinityCapitalManagement/PrevaAdvancedSurgicare

Mikeetal–

Pleasefindattached(andpastedinͲlinebelow)abreakdownoftheamountsheldondepositfordatesofservicethatare
notpartoftheHolders’portfolioaswellasthe(proposed)calculationsofproratasplits.Totheextentthatyoudisagree
withtheproratacalculationusingoutstandinggrossbilledcharges(whichweviewastheappropriateapproach),please
confirmhowyou’dlikeustoproceed.

MichaelStone





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                        Case 21-14486-abl                         Doc 210              Entered 05/23/22 22:25:44                                Page 45 of 51



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                                           MichaelȱStoneȱ
                                           ChiefȱExecutiveȱOfficerȱ
                                           10100ȱW.ȱCharlestonȱBlvd,ȱSuiteȱ120ȱ
                                           LasȱVegas,ȱNVȱ89135ȱ
                                           Phone:ȱ213Ȭ700Ȭ4764ȱȱ
                                           Email:ȱmstone@provepartners.comȱ
                                           Web:ȱwww.provepartners.com




ConfidentialityȱStatement:ȱTheȱinformationȱinȱthisȱeȬmailȱmayȱbeȱprivilegedȱand/orȱconfidentialȱandȱprotectedȱfromȱdisclosure.ȱIfȱtheȱreaderȱofȱthisȱmessageȱisȱnotȱtheȱintendedȱrecipient,ȱyouȱareȱ
herebyȱnotifiedȱthatȱanyȱdissemination,ȱdistributionȱorȱcopyȱofȱthisȱcommunicationȱisȱstrictlyȱprohibited.ȱIfȱyouȱhaveȱreceivedȱthisȱeȬmailȱinȱerror,ȱpleaseȱnotifyȱmeȱimmediatelyȱbyȱreplyingȱtoȱ
thisȱmessageȱandȱdeletingȱtheȱmaterialȱfromȱanyȱcomputer.ȱThankȱYou.



From:MikeBelotz<mbelotz@tecumsehalts.com>
Sent:Tuesday,May17,20229:39AM
To:JohnGordon<jgordon@provepartners.com>;MichaelStone<mstone@provepartners.com>
Cc:michael.napoli@akerman.com;BartLarsen<blarsen@shea.law>;ChadMeyer<cmeyer@tecumsehalts.com>;
MaggieJenkins<MJenkins@tplcmgmt.com>;AlisonFrancis<afrancis@tplcmgmt.com>;IgorShleypak
<ishleypak@hedgeact.com>
Subject:RE:InfinityCapitalManagement/PrevaAdvancedSurgicare

Michael,

Togettheseoverlapclaimssettledwe’dliketoseedetailontheproposedamountbeingsenttoGAIN.Idon’tbelieve
anydetailswereprovidedexceptfortheproposedamount.Specifically:



                                                                                                 2
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             x   Thepatientsatissue.Throughourlawyersweunderstandsixpatientsmakeuptheamountofwhich
                 twoarenonͲoverlapreceivablesandsolelyHAreceivables.Pleaseconfirm.
             x   OntheoverlapreceivablesthetotalamountofreceivablesattributabletoHAversustheportfolio.
             x   Thebasisofcalculationforattributingthesettlements.

Thanks.

Best,
MB

From:IgorShleypak<ishleypak@hedgeact.com>
Sent:Tuesday,May17,20229:28AM
To:JohnGordon<jgordon@provepartners.com>
Cc:MikeBelotz<mbelotz@tecumsehalts.com>;MichaelStone<mstone@provepartners.com>;
michael.napoli@akerman.com;BartLarsen<blarsen@shea.law>;ChadMeyer<cmeyer@tecumsehalts.com>;Maggie
Jenkins<MJenkins@tplcmgmt.com>;AlisonFrancis<afrancis@tplcmgmt.com>
Subject:Re:InfinityCapitalManagement/PrevaAdvancedSurgicare

HiJohnandTeamTPL,

Let'sholdoffongoingforwardwithmediation.Wedonotapproveofanyfurtherlegalexpensesuntilsomeotherissues
areresolvedconcerningtheoverlappingclaims.Ibelieveourcounselsarediscussingtheissue.

Thanks.

Bestregards,


IgorShleypak,Esq.
DirectorofCompliance,
InͲHouseCounsel
HedgeACT
GriffinCapitalMgt.
GriffinAssetManagement
T:248Ͳ225Ͳ0535
E:ishleypak@hedgeact.com


Case 21-14486-abl   Doc 210   Entered 05/23/22 22:25:44   Page 47 of 51




                                         EXHIBIT 3
                        Case 21-14486-abl                            Doc 210                Entered 05/23/22 22:25:44                                       Page 48 of 51




Fund PatientID HASPerClaimCount TIFPerClaimCount TotalClaimGFB BillGFB         AttorneyFirstName   AttorneyLastName   Provider                               PaidDate     PaidCheckNo             BillCost
HAS       1206                 11               1    $346,305.59    $19,840.00 Jonathan            Wade               Chimedical Management Group LLC        2017-08-17   NSB-1315WIRE-22999274         $9,523.20
HAS       1206                 11               1    $346,305.59       $885.00 Jonathan            Wade               Polaris Spine & Neurosurgery Center    2018-02-12   5349                            $424.80
HAS       1206                 11               1    $346,305.59     $4,944.00 Jonathan            Wade               Chimedical Management Group LLC        2017-08-17   NSB-1315WIRE-22999274         $2,373.12
HAS       1206                 11               1    $346,305.59     $1,230.00 Jonathan            Wade               Chimedical Management Group LLC        2017-08-17   NSB-1315WIRE-22999274           $590.40
HAS       1206                 11               1    $346,305.59   $226,603.63 Jonathan            Wade               Perimeter Surgery Center of Atlanta    2018-06-20   1193                         $38,296.08
HAS       1206                 11               1    $346,305.59     $9,708.00 Jonathan            Wade               Chimedical Management Group LLC        2017-09-25   4186                          $3,600.00
HAS       1206                 11               1    $346,305.59    $34,887.48 Jonathan            Wade               Legacy Brain & Spine                   2018-04-11   1060                         $22,874.74
HAS       1206                 11               1    $346,305.59       $700.00 Jonathan            Wade               Legacy Brain & Spine                   2018-04-26   1062                            $427.00
HAS       1206                 11               1    $346,305.59     $5,800.00 Jonathan            Wade               North Fulton Anesthesia Associates     2018-06-06   1147                          $3,537.96
HAS       1206                 11               1    $346,305.59     $4,595.00 Jonathan            Wade               (AHI) American Health Imaging          2017-08-16   4099                          $1,560.00
HAS       1206                 11               1    $346,305.59     $2,225.00 Jonathan            Wade               (AHI) American Health Imaging          2017-09-26   4189                            $780.00
TIF       1206                 11               1    $346,305.59    $34,887.48 Jonathan            Wade               Legacy Brain & Spine                   2020-11-16   BA1531                       $18,000.00
HAS       1960                 52              10     $97,752.90       $160.25 Jonathan            Wade               Perimeter Orthopaedics PC              2020-04-08   7453                             $80.13
HAS       1960                 52              10     $97,752.90    $35,291.40 Jonathan            Wade               Perimeter Outpatient Surgical Assoc    2020-03-26   7432                         $14,000.00
HAS       1960                 52              10     $97,752.90       $412.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $214.24
HAS       1960                 52              10     $97,752.90       $341.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $177.32
HAS       1960                 52              10     $97,752.90       $355.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $184.60
HAS       1960                 52              10     $97,752.90       $381.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $198.12
HAS       1960                 52              10     $97,752.90       $381.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $198.12
HAS       1960                 52              10     $97,752.90       $381.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $198.12
HAS       1960                 52              10     $97,752.90       $381.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-01-16   5636                            $198.12
HAS       1960                 52              10     $97,752.90       $381.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-04-30   6020                            $190.50
HAS       1960                 52              10     $97,752.90       $331.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-05-31   6119                            $148.95
HAS       1960                 52              10     $97,752.90       $405.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-05-31   6119                            $182.25
HAS       1960                 52              10     $97,752.90       $405.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-05-31   6119                            $182.25
HAS       1960                 52              10     $97,752.90       $413.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-05-31   6119                            $206.25
HAS       1960                 52              10     $97,752.90       $403.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-05-31   6119                            $201.50
HAS       1960                 52              10     $97,752.90       $413.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-06-17   6169                            $173.46
HAS       1960                 52              10     $97,752.90       $403.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-06-17   6169                            $169.26
HAS       1960                 52              10     $97,752.90       $416.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-06-17   6169                            $231.00
HAS       1960                 52              10     $97,752.90       $406.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-06-17   6169                            $227.36
HAS       1960                 52              10     $97,752.90       $406.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-06-30   6244                            $227.36
HAS       1960                 52              10     $97,752.90       $413.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-07-29   6313                            $214.50
HAS       1960                 52              10     $97,752.90       $413.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-08-15   6366                            $214.50
HAS       1960                 52              10     $97,752.90       $413.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-08-15   6366                            $214.50
HAS       1960                 52              10     $97,752.90       $502.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-08-15   6366                            $214.50
HAS       1960                 52              10     $97,752.90       $401.85 Jonathan            Wade               Perimeter Orthopaedics PC              2019-11-02   6560                            $196.91
HAS       1960                 52              10     $97,752.90    $11,454.75 Jonathan            Wade               Perimeter Orthopaedics PC              2020-03-26   7431                          $3,500.00
HAS       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC              2018-12-03   1474                            $329.98
HAS       1960                 52              10     $97,752.90       $394.00 Jonathan            Wade               Synergy Rehab Svcs Inc                 2019-04-30   6020                            $197.00
HAS       1960                 52              10     $97,752.90    $11,139.75 Jonathan            Wade               Perimeter Orthopaedics PC              2020-03-26   7431                          $2,100.00
HAS       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC              2019-09-06   6420                            $281.29
HAS       1960                 52              10     $97,752.90     $2,225.00 Jonathan            Wade               (AHI) American Health Imaging          2019-01-16   5616                            $845.00
HAS       1960                 52              10     $97,752.90     $2,370.00 Jonathan            Wade               (AHI) American Health Imaging          2019-01-16   5616                            $845.00
HAS       1960                 52              10     $97,752.90       $703.00 Jonathan            Wade               (AHI) American Health Imaging          2019-01-16   5616                            $365.56
HAS       1960                 52              10     $97,752.90       $736.00 Jonathan            Wade               (AHI) American Health Imaging          2019-10-03   6471                            $382.72
HAS       1960                 52              10     $97,752.90     $2,370.00 Jonathan            Wade               (AHI) American Health Imaging          2019-12-04   6651                          $1,201.59
HAS       1960                 52              10     $97,752.90       $444.00 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY             2020-03-04   7380                            $202.02
HAS       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY             2020-03-04   7380                            $195.88
HAS       1960                 52              10     $97,752.90       $444.00 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY             2020-03-04   7380                            $217.56
HAS       1960                 52              10     $97,752.90       $401.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY             2020-03-04   7380                            $196.73
HAS       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY             2020-03-04   7380                            $210.95
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HAS       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-03-26   7409                  $210.95
HAS       1960                 52              10     $97,752.90       $432.00 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-04-10   7462                  $211.68
HAS       1960                 52              10     $97,752.90       $361.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-04-10   7462                  $177.13
HAS       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-04-10   7462                  $210.95
HAS       1960                 52              10     $97,752.90       $470.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-04-10   7462                  $230.55
HAS       1960                 52              10     $97,752.90       $888.30 Jonathan            Wade               Perimeter Orthopaedics PC        2018-11-18   1446                  $530.13
HAS       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC        2019-04-07   5899                  $270.48
HAS       1960                 52              10     $97,752.90     $1,290.95 Jonathan            Wade               Perimeter Orthopaedics PC        2020-04-08   7453                  $645.48
HAS       1960                 52              10     $97,752.90       $664.00 Jonathan            Wade               Orthopaedic Solutions            2018-08-12   1254                  $405.04
HAS       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC        2019-05-31   6105                  $243.43
HAS       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC        2019-02-26   5807                  $281.29
HAS       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC        2019-12-04   6665                  $274.26
TIF       1960                 52              10     $97,752.90       $788.00 Jonathan            Wade               Joint Active Systems             2020-05-29   7537                  $472.80
TIF       1960                 52              10     $97,752.90     $6,226.00 Jonathan            Wade               Perimeter Anesthesia LLC         2020-10-06   6715                $2,988.48
TIF       1960                 52              10     $97,752.90       $540.95 Jonathan            Wade               Perimeter Orthopaedics PC        2020-05-29   7532                  $259.66
TIF       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-05-14   7511                  $180.82
TIF       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-05-14   7511                  $180.82
TIF       1960                 52              10     $97,752.90       $505.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-05-29   7521                  $212.30
TIF       1960                 52              10     $97,752.90       $444.00 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-05-29   7521                  $186.48
TIF       1960                 52              10     $97,752.90       $430.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-05-29   7521                  $180.82
TIF       1960                 52              10     $97,752.90       $361.50 Jonathan            Wade               BENCHMARK PHYSICAL THERAPY       2020-05-29   7521                  $151.82
TIF       1960                 52              10     $97,752.90     $1,230.00 Jonathan            Wade               DuraMed LLC                      2020-05-29   7528                  $590.40
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-01-17   5668                  $164.89
HAS       2624                 24               6     $10,387.05       $215.55 Bobby               Johnson            Resurgens Orthopaedics           2019-04-30   6002                  $107.78
HAS       2624                 24               6     $10,387.05        $98.48 Bobby               Johnson            Resurgens Orthopaedics           2020-02-24   7349                   $57.62
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-06-07   6135                  $158.55
HAS       2624                 24               6     $10,387.05       $210.03 Bobby               Johnson            Resurgens Orthopaedics           2019-03-08   5822                  $122.86
HAS       2624                 24               6     $10,387.05       $287.40 Bobby               Johnson            Resurgens Orthopaedics           2019-05-31   6107                  $129.33
HAS       2624                 24               6     $10,387.05       $287.40 Bobby               Johnson            Resurgens Orthopaedics           2019-01-17   5668                  $168.13
HAS       2624                 24               6     $10,387.05       $210.03 Bobby               Johnson            Resurgens Orthopaedics           2019-04-07   5934                  $105.02
HAS       2624                 24               6     $10,387.05       $287.40 Bobby               Johnson            Resurgens Orthopaedics           2019-04-07   5934                  $143.70
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-04-07   5934                  $140.94
HAS       2624                 24               6     $10,387.05       $390.03 Bobby               Johnson            Resurgens Orthopaedics           2019-01-17   5668                  $228.16
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-01-29   5706                  $164.91
HAS       2624                 24               6     $10,387.05       $215.55 Bobby               Johnson            Resurgens Orthopaedics           2019-05-31   6107                   $97.00
HAS       2624                 24               6     $10,387.05       $287.40 Bobby               Johnson            Resurgens Orthopaedics           2019-05-31   6107                  $129.33
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-01-17   5668                  $164.89
HAS       2624                 24               6     $10,387.05       $164.12 Bobby               Johnson            Resurgens Orthopaedics           2019-04-07   5934                   $82.06
HAS       2624                 24               6     $10,387.05       $215.55 Bobby               Johnson            Resurgens Orthopaedics           2019-04-07   5934                  $107.78
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-06-07   6135                  $158.56
HAS       2624                 24               6     $10,387.05       $215.55 Bobby               Johnson            Resurgens Orthopaedics           2019-06-07   6135                  $121.25
HAS       2624                 24               6     $10,387.05     $2,278.00 Bobby               Johnson            Northwest Georgia Orthopaedic    2019-04-07   5948                $1,139.00
HAS       2624                 24               6     $10,387.05       $281.88 Bobby               Johnson            Resurgens Orthopaedics           2019-03-08   5822                  $164.91
HAS       2624                 24               6     $10,387.05       $782.00 Bobby               Johnson            Resurgens Orthopaedics           2019-04-07   5934                  $391.00
HAS       2624                 24               6     $10,387.05        $98.48 Bobby               Johnson            Resurgens Orthopaedics           2019-07-29   6298                   $49.24
HAS       2624                 24               6     $10,387.05       $577.92 Bobby               Johnson            Resurgens Orthopaedics           2019-01-17   5668                  $338.08
TIF       2624                 24               6     $10,387.05       $151.00 Bobby               Johnson            Resurgens Orthopaedics           2020-11-10   BA1519                 $81.54
TIF       2624                 24               6     $10,387.05       $213.00 Bobby               Johnson            Resurgens Orthopaedics           2020-12-22   BA1597                $115.02
TIF       2624                 24               6     $10,387.05       $345.00 Bobby               Johnson            Resurgens Orthopaedics           2020-11-10   BA1519                $186.30
TIF       2624                 24               6     $10,387.05       $291.00 Bobby               Johnson            Resurgens Orthopaedics           2020-11-10   BA1519                $157.14
TIF       2624                 24               6     $10,387.05       $248.00 Bobby               Johnson            Resurgens Orthopaedics           2020-11-10   BA1519                $133.92
TIF       2624                 24               6     $10,387.05       $345.00 Bobby               Johnson            Resurgens Orthopaedics           2020-11-10   BA1519                $186.30
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HAS       2963                 62               6    $159,489.10     $1,326.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                  $672.28
HAS       2963                 62               6    $159,489.10     $1,373.72 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-03-05   7390                  $686.86
HAS       2963                 62               6    $159,489.10       $630.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-03-05   7390                  $315.00
HAS       2963                 62               6    $159,489.10       $326.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                  $165.28
HAS       2963                 62               6    $159,489.10       $404.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-01-05   7238                  $254.52
HAS       2963                 62               6    $159,489.10       $172.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-01-05   7238                  $108.36
HAS       2963                 62               6    $159,489.10     $4,905.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-07-29   6296                $2,869.43
HAS       2963                 62               6    $159,489.10       $735.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $477.75
HAS       2963                 62               6    $159,489.10       $796.80 Caroline            Owings             Northside Anesthesiology Consultant     2019-12-04   6645                  $403.98
HAS       2963                 62               6    $159,489.10       $398.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $232.83
HAS       2963                 62               6    $159,489.10     $4,570.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-06   6419                $2,673.45
HAS       2963                 62               6    $159,489.10       $504.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-06-13   6162                  $352.80
HAS       2963                 62               6    $159,489.10       $316.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-06-13   6162                  $199.08
HAS       2963                 62               6    $159,489.10       $584.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-06   6419                  $353.73
HAS       2963                 62               6    $159,489.10       $480.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                  $243.36
HAS       2963                 62               6    $159,489.10       $222.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-01-05   7238                  $139.86
HAS       2963                 62               6    $159,489.10       $544.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-06-13   6162                  $228.48
HAS       2963                 62               6    $159,489.10    $10,915.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-06-30   6238                $6,385.28
HAS       2963                 62               6    $159,489.10     $5,535.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-07-29   6310                $3,237.98
HAS       2963                 62               6    $159,489.10       $645.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $419.25
HAS       2963                 62               6    $159,489.10       $744.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $435.24
HAS       2963                 62               6    $159,489.10     $5,535.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-08-15   6337                $3,237.98
HAS       2963                 62               6    $159,489.10     $5,535.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-08-15   6337                $3,237.98
HAS       2963                 62               6    $159,489.10     $5,535.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-09-06   6397                $3,237.98
HAS       2963                 62               6    $159,489.10     $9,092.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-10-03   6475                $5,318.82
HAS       2963                 62               6    $159,489.10     $9,092.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2019-10-03   6475                $5,318.82
HAS       2963                 62               6    $159,489.10       $230.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                  $116.61
HAS       2963                 62               6    $159,489.10       $356.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-01-20   7280                  $224.28
HAS       2963                 62               6    $159,489.10     $2,501.00 Caroline            Owings             Peachtree Orthopaedic Surgery Center    2020-01-28   7298                $1,575.63
HAS       2963                 62               6    $159,489.10       $410.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-03-05   7390                  $205.00
HAS       2963                 62               6    $159,489.10       $480.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-04-29   7475                  $302.40
HAS       2963                 62               6    $159,489.10     $4,905.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                $2,869.43
HAS       2963                 62               6    $159,489.10       $316.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                  $160.21
HAS       2963                 62               6    $159,489.10       $258.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                  $130.81
HAS       2963                 62               6    $159,489.10     $1,195.70 Caroline            Owings             Northside Anesthesiology Consultant     2019-12-04   6645                  $606.22
HAS       2963                 62               6    $159,489.10       $322.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-01-05   7238                  $202.86
HAS       2963                 62               6    $159,489.10       $225.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $131.63
HAS       2963                 62               6    $159,489.10       $398.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $232.83
HAS       2963                 62               6    $159,489.10     $2,355.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                $1,377.68
HAS       2963                 62               6    $159,489.10       $656.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-08-26   6380                  $383.76
HAS       2963                 62               6    $159,489.10    $11,003.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-06-30   6237                $2,860.78
HAS       2963                 62               6    $159,489.10     $8,804.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-10-03   6485                $5,150.34
HAS       2963                 62               6    $159,489.10     $1,523.72 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-03-26   7429                  $746.62
HAS       2963                 62               6    $159,489.10     $4,662.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-06-13   6162                $1,958.04
HAS       2963                 62               6    $159,489.10     $8,804.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-06   6419                $5,150.34
HAS       2963                 62               6    $159,489.10     $1,373.72 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-10-17   6498                  $892.92
HAS       2963                 62               6    $159,489.10    $11,003.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-06-30   6237                $6,436.76
HAS       2963                 62               6    $159,489.10     $1,073.72 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-09-07   6438                  $697.92
HAS       2963                 62               6    $159,489.10     $1,129.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-10-17   6498                  $733.85
HAS       2963                 62               6    $159,489.10     $2,394.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2019-12-04   6663                $1,213.76
HAS       2963                 62               6    $159,489.10     $4,400.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-01-28   7297                $2,772.00
HAS       2963                 62               6    $159,489.10       $240.00 Caroline            Owings             Peachtree Orthopaedic Clinic            2020-04-29   7475                  $168.00
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HAS       2963                 62               6    $159,489.10       $424.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-06-13   6162                  $267.12
HAS       2963                 62               6    $159,489.10       $356.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-09-07   6438                  $208.26
HAS       2963                 62               6    $159,489.10     $1,200.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-09-07   6438                  $702.00
HAS       2963                 62               6    $159,489.10       $480.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-10-17   6498                  $280.80
HAS       2963                 62               6    $159,489.10       $704.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2020-03-26   7429                  $344.96
HAS       2963                 62               6    $159,489.10     $4,570.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-08-26   6380                $2,673.45
HAS       2963                 62               6    $159,489.10       $316.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-12-04   6663                  $160.21
HAS       2963                 62               6    $159,489.10       $316.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2019-12-04   6663                  $160.21
HAS       2963                 62               6    $159,489.10     $1,031.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2020-01-05   7238                  $652.33
HAS       2963                 62               6    $159,489.10       $240.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2020-04-29   7475                  $151.20
TIF       2963                 62               6    $159,489.10     $1,313.72 Caroline            Owings             Peachtree Orthopaedic Clinic     2020-05-29   7525                  $788.23
TIF       2963                 62               6    $159,489.10     $2,363.00 Caroline            Owings             (AHI) American Health Imaging    2020-05-14   7510                $1,134.24
TIF       2963                 62               6    $159,489.10       $863.00 Caroline            Owings             (AHI) American Health Imaging    2020-05-14   7510                  $414.24
TIF       2963                 62               6    $159,489.10       $480.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2020-05-29   7525                  $259.20
TIF       2963                 62               6    $159,489.10     $2,420.00 Caroline            Owings             (AHI) American Health Imaging    2020-07-23   7605                $1,161.60
TIF       2963                 62               6    $159,489.10       $480.00 Caroline            Owings             Peachtree Orthopaedic Clinic     2020-05-14   7515                  $259.20
